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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOROTHY JEAN WILLIAMS
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               CR.NO. S-06-288-WBS
10                                  )
          PLAINTIFF,                )               STIPULATION AND PROPOSED
11                                  )               ORDER RE: RELEASING BAIL BOND
          v.                        )               ON THETHPROPERTY LOCATED AT
12                                  )               7250 15 STREET
     DOROTHY JEAN WILLIAMS, et al.,)
13                                  )
          DEFENDANTS.               )
14                                  )
     ______________________________)
15
16         The Plaintiff, the United States of America, by and through its attorneys,
17   Assistant United States Attorney, Mr. Jason Hitt, and the defendant, Ms. Dorothy
18   Jean Williams, by and through her attorney, Mr. James R. Greiner, hereby agree and
19   stipulate to the following:
20                 1. On June 29, 2006, a complaint was filed regarding the defendant,
21   Dorothy Jean Williams.
22                 2. On June 29, 2006, the Magistrate Judge, after consideration, ordered
23   the deft released on a $200,000 secured bond and under the conditions as stated on
24   the record.
25                 3. It appears from the docket that the defendant was released from
26   custody on July 6, 2006, after posting the bail bond and with conditions of release .
27   (See docket entries 4, 5, and 6).
28                                              1
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 1                4. An Indictment was returned on July 13, 2006, against both the
 2   defendant and co-defendant Reginald Bowers. The Indictment alleges in Count 1 a
 3   violation of Title 21 U.S.C. section 841(a)(1) (Possession with intent to distribute
 4   cocaine base); Count two a violation of Title 21 U.S.C. section 841(a)(1) Possession
 5   with intent to distribute Cocaine; Count three (against defendant only) a violation of
 6   Title 21 U.S.C. section 856(a)(2) Managing and controlling a place for the purpose of
 7   manufacturing, storing, and distributing Cocaine and Cocaine base.
 8                5. The defendant was arraigned on the Indictment on July 14, 2006,
 9   entering not guilty pleas and demanding a jury trial.
10                6. On December 19, 2006, the court appointed present counsel in place
11   of Mr. Steve Bauer.
12                7. A related case order was filed on December 21, 2006, regarding the
13   civil forfeiture action filed, Civ-S-06-02839-WBS.
14                8. The parties agree and stipulate that the Court may sign the Order
15   below releasing as bail bond in this case, the property located at 7250 15th Street,
16   Sacramento, California.
17                9. Pretrial services has no objection to the releasing of the property
18   located at 7250 15th Street, Sacramento, California, 95822.
19                10. There is still one piece of property that is acting as bail bond in the
20   case, that is the property located at 7244, 15th Street, Sacramento, California, 95822.
21         The foregoing is agreed and stipulated to by the parties.
22
23                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
24
                                      /s/ JASON HITT by telephone authorization
25
     DATED: 6-21-07                   _____________________________________
26                                    JASON HITT
                                      ASSISTANT UNITED STATES ATTORNEY
27                                    ATTORNEYS FOR THE PLAINTIFF
28                                               2
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 1
 2                               /s/ JAMES R. GREINER
     DATED: 6-21-07              _____________________________________
 3                               JAMES R. GREINER
                                 ATTORNEY FOR DEFENDANT
 4                               DOROTHY JEAN WILLIAMS
 5
 6
 7
                                       ORDER
 8
 9
10        FOR GOOD CAUSE SHOWING, IT IS SO ORDERED.
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13
14   DATED: June 22, 2007
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